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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   PEDRO CRUZ-PEÑA, on behalf of himself,
   individually, and on behalf of all others similarly
   situated,
                                                                24 CV 6263 (PKC) (RML)
                             Plaintiff,

               - against-                                       NOTICE OF MOTION

   GREAT KITCHEN SUPPORT CORP., and
   CHRISTIAN DIAZ, individually,

                             Defendants.


         PLEASE TAKE NOTICE that upon the annexed Declaration of Pedro Cruz-Pena dated

  February 19, 2025, Declaration of Anthony P. Consiglio, Esq., dated February 20, 2025, with

  accompanying Exhibits A through D and accompanying Memorandum of Law, Plaintiff Pedro

  Cruz-Pena and Opt-In Plaintiffs Dianelba Suriel and Amalia Godinez will move this Court, before

  the Honorable Robert M. Levy, at the United States Courthouse, 225 Cadman Plaza East,

  Brooklyn, New York 11201, on a date at the Court’s pleasure, for an Order pursuant to 29 U.S.C.

  § 216(b):

         (1)       Conditionally certifying this case as a Fair Labor Standards Act (“FLSA”)
                   collective action consisting of “current and former employees, who during
                   the applicable FLSA limitations period of September 6, 2021 through the
                   end of litigation, performed any work for Defendants as non-managerial
                   cooks, or in a similar position, and who give consent to file a claim to
                   recover unpaid overtime compensation and liquidated damages that are
                   legally due to them” (“potential collective action members”);

         (2)       Requiring Defendants, within fourteen days of the Court’s Order, to
                   produce a computer-readable data file containing the names, last known
                   mailing addresses, all last known home and mobile telephone numbers, all
                   known email addresses, primary language spoken, and dates of employment
                   of all potential collective action members;
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        (3)    Permitting Plaintiffs to disseminate to the potential collective action
               members the Notice of Lawsuit (“Notice”) and Consent to Join Form and
               Reminder Notice in English, Spanish, and any other identified primary
               language of potential collective action members by regular mail, email, and
               text message, in the forms attached to the Declaration of Anthony P.
               Consiglio, Esq. as Exhibits A, B, C, and D, and permitting a sixty-day opt-
               in period;

        (4)    Equitably tolling the FLSA statute of limitations from September 6, 2024,
               until this motion is decided; and

        (5)    Granting any other further relief that the Court deems just and proper.


        Plaintiffs respectfully request the opportunity to submit a reply to any opposition on this

  motion.


  Dated: Garden City, New York
         February 20, 2025
                                                      Respectfully submitted,

                                                      BORRELLI & ASSOCIATES, P.L.L.C.
                                                      Attorneys for Plaintiff
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                                              By:     _______________________________
                                                        ANTHONY P. CONSIGLIO, ESQ.




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